Case 1:21-cr-00358-EGS Document 26 Filed 12/01/21 Page1of4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 1:21-CR-00358-EGS
v.
HOWARD B. ADAMS, VIOLATIONS:
Defendant. 18 U.S.C. § 231(a)(3)
: (Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
: Building or Grounds)
: 18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
: (Disorderly Conduct on Grounds or ina
: Capitol Building)
: 40 U.S.C. §5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
Case 1:21-cr-00358-EGS Document 26 Filed 12/01/21 Page 2 of 4

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, HOWARD B. ADAMS
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his official duties, incident to
and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231 (a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, HOWARD
B. ADAMS attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
Case 1:21-cr-00358-EGS Document 26 Filed 12/01/21 Page 3of 4

COUNT THREE
On or about January 6, 2021, within the District of Columbia, HOWARD B. ADAMS
did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off. and otherwise restricted area within the United States Capitol and its grounds,
where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, HOWARD B. ADAMS
did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, whére the Vice President was
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
‘violation of Title 18, United States Code, Section 1752(a)(2))
Case 1:21-cr-00358-EGS Document 26 Filed 12/01/21 Page 4 of 4

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, HOWARD B. ADAMS
willfully and knowingly engaged in disorderly and disruptive conduct at any place in the United
States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt,
and disturb the orderly conduct of a session of Congress and either House of Congress, and the
orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct on Capitol Grounds or in a Capitol Building, in violation
of Title 40, United States Code, Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, HOWARD B. ADAMS
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
